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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CONVERGEN ENERGY LLC, L’ANSE WARDEN
ELECTRIC COMPANY, LLC, EUROENERGY
BIOGAS LATVIA LIMITED, and LIBRA CAPITAL                Index No. 1:20-cv-03746 (LJL)
US, INC.
                         Plaintiffs,

-against-

STEVEN J. BROOKS, NIANTICVISTA ENERGY
LLC, GREGORY MERLE, RIVERVIEW ENERGY
CORPORATION, DANIEL ESCANDON GARCIA,
RAMON URIARTE INCHAUSTI, CHIPPER
INVESTMENT SCR, SA, URINCHA SL, THEODORE
JOHN HANSEN, BRIAN R. MIKKELSON, and
CONVERGEN ENERGY WI, LLC,

                                Defendants.



    PLAINTIFFS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION
     FOR RECONSIDERATION OF ORDER DENYING STAY OF ARBITRATION


 Dated: September 9, 2020
 New York, New York
                                              SEIDEN LAW GROUP LLP

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         Pursuant to Federal Rule of Civil Procedure 60(b) and Local Rule 6.3, Plaintiffs Convergen

Energy LLC, L’Anse Warden Electric Company, LLC (“L’Anse”), Euroenergy Biogas Latvia

Limited, and Libra Capital US, Inc. (collectively, “Plaintiffs”), by and through their undersigned

counsel, submit this brief in further support of their motion for reconsideration of the Court’s

August 5, 2020 Opinion & Order (“Order”) denying Plaintiffs’ motion to stay the arbitration

initiated by Convergen Energy WI, LLC (“CEW”) on June 4, 2020 and in reply to Defendants’

Brief in Opposition to Plaintiffs’ motion (ECF 137) (“Defendants’ Brief”).1

                                      PRELIMINARY STATEMENT

         Defendants fail to raise a single substantive challenge to the bases on which Plaintiffs seek

reconsideration. Defendants do not challenge Mr. Andueza’s role in Brooks’ fraud or that

Plaintiffs’ senior management did not know that Andueza was engaged in fraud. They do not

challenge their knowledge of Brooks’ fraudulent role. They do not challenge the century of

common law that an agreement entered into by an agent with the intent to defraud his principal is

void ab initio. Nor do Defendants dispute that, under controlling federal law, issues related to the

formation of an arbitration provision are for a court and not an arbitrator to decide, warranting

reconsideration and a stay of the Wisconsin Arbitration.

         Critically, Defendants do not maintain that the Court correctly concluded that Mr. Andueza

had the authority to bind L’Anse. Defendants know that the Court was mistaken in assuming that

Andueza’s authority is “undisputed” — and they seek to take advantage of that mistake.




1
  All capitalized terms not otherwise defined herein shall have the same meanings ascribed to them in the Complaint.
(ECF 1), Plaintiffs’ motion to stay the arbitration (ECF 63-65, 83) (“Motion to Stay Arbitration”), and Plaintiffs’
Memorandum of Law in Support of Motion to Stay Arbitration (ECF 119) (“Plaintiffs’ Opening Brief”). References
to “Opening Br. __” are references to Plaintiffs’ Opening Brief; “Def. Br. __” are references to Defendants’ Brief filed
in opposition to Plaintiffs’ Motion for Reconsideration (ECF 137). All emphasis is added and all internal citations
and quotations are omitted unless otherwise noted.

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       Contrary to what Defendants maintain, there is nothing late about Plaintiffs’ contention on

reconsideration that the Court based its decision on an incorrect and incomplete record. Indeed,

Mr. Andueza’s authority to bind L’Anse was not at issue in the briefing of the Motion to Stay; it

was raised by Defendants improperly and in bad faith only when Plaintiffs were no longer entitled

to respond to that argument and prior to the Court’s Order. And even if Plaintiffs raised this

argument belatedly, which they have not, reconsideration is appropriate to correct a mistake of

material fact and prevent an injustice.

       There is also no basis to Defendants’ contention that Plaintiffs ratified the Supply

Agreement, including the arbitration provision. No ratification ever took place, as Plaintiffs had

no intention of ratifying the Supply Agreement, and their conduct after the signing of the Supply

Agreement demonstrates this.       Notably, Defendants distort the facts concerning L’Anse’s

purportedly taking delivery under the Supply Agreement; the purported evidence they put forth

that in their view demonstrates ratification is in reality the very evidence that demonstrates their

fraud. Further and significantly, Defendants cannot maintain that the Amended Closing Statement

ratified the Supply Agreement while at the same time ignore its forum selection provision that

provides for disputes arising under the Amended Closing Statement to be adjudicated by courts in

New York.

       For the reasons set forth herein and in Plaintiffs’ Opening Brief, Plaintiffs’ Motion for

Reconsideration should be granted.

                                          ARGUMENT

       In the Order, the Court respectfully albeit incorrectly assumed that: (i) Mr. Andueza’s

authority to bind L’Anse was “undisputed”; and (ii) L’Anse had taken delivery under the terms

of the Supply Agreement and thereby ratified the Supply Agreement and its arbitration provision.



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Correcting these mistaken assumptions regarding material facts is an appropriate basis for

reconsideration. Defendants arguments to the contrary are unavailing, as set forth below.

   I.      ANDUEZA’S LACK OF AUTHORTY WARRANTS RECONSIDERATION

        In their brief, Defendants do not challenge the fact that the Court was mistaken in assuming

that Mr. Andueza’s authority was “undisputed.” Instead, Defendants contend that it is too late for

Plaintiffs to dispute Mr. Andueza’s purported authority to bind L’Anse. Defendants are wrong on

the facts and the law.

        Defendants are wrong that Plaintiffs have waited too long to put forward the facts

concerning Mr. Andueza. Mr. Andueza’s purported authority to bind L’Anse was not at issue until

Defendants raised it in their Motion to Dismiss (ECF 92 at 11-12) and in their not-granted sur-

reply to Plaintiffs’ Motion to Stay (ECF 97 at 5 n. 4). Both filings occurred after Plaintiffs filed

their reply to the Motion to Stay on July 14, 2020. ECF 83. Accordingly, Plaintiffs never had an

opportunity to respond to this issue until the Motion for Reconsideration.

        Additionally, Defendants cannot credibly maintain that Mr. Andueza had the authority to

bind L’Anse when they knew and indeed rely on the fact that Mr. Andueza was involved in Brooks’

fraud. See ECF 97 at 5 n. 4 (“Mr. Andueza … orchestrated the transaction that is now alleged to

be procured fraudulently.”); ECF 92 at 12 (relying on the contention that “Plaintiffs have admitted

in the related Supply Agreement litigation before this Court that Manager Andueza was aware of

the ‘fraud’ about which they now complain.”); see also ECF 92 at 12 n. 6 (relying on the position

that Mr. Andueza was a co-conspirator of Brooks’). Plaintiffs’ senior management was unaware

of Brooks’ fraudulent scheme and that Andueza was part of that scheme. See Declaration of Fidel

Andueza, ECF 149 at ¶19. Defendants cannot have it both ways: Mr. Andueza could not have had




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the authority to bind L’Anse if he was an undisclosed co-conspirator of Brooks.2

         Moreover, even if Plaintiffs were late in raising facts concerning the issue of Mr.

Andueza’s authority – which they were not – the Court can and should consider these facts so it

may correct a clear error or alternatively prevent an injustice. See In re Platinum-Beechwood

Litig., 2019 WL 5203745, at *2 (S.D.N.Y. Sept. 16, 2019) (reviewing argument raised for the first

time on reconsideration and granting reconsideration because “the Court is now persuaded that the

legal authorities now [plaintiff] brings to the Court’s attention warrant a less onerous result.”);

Baliga et al. v. Link Motion Inc. et al., 2020 WL 5350271, at *12 (S.D.N.Y. Sept. 4, 2020) (“Even

where a motion [for reconsideration] is untimely … a court may grant reconsideration of its prior

order if the movant demonstrates the need to correct a clear error of law or prevent manifest

injustice.”); Mikol v. Barnhart, 554 F. Supp. 2d 498, 503 (S.D.N.Y. 2008) (noting that

circumstances warranting reconsideration may exist where later developments in a case suggest

that a failure to reconsider a prior ruling could result in an unlawful or significantly unjust result).

         Here, as set forth in Plaintiffs’ Opening Brief, the facts concerning Mr. Andueza’s role in

the fraud are critical to determining whether the Supply Agreement was formed and, by extension,

whether the arbitration clause contained therein is enforceable. Indeed, upon reviewing the

corrected record and actual facts concerning Mr. Andueza’s authority (Opening Br. at 2-3, 8-9)

(which Defendants concede) and the application of those facts to the controlling law on the issue

of contract formation (Opening Br. at 6-9) (which Defendants do not challenge), the Court can and

should find that Plaintiffs have set forth a prima facie showing that: (i) Mr. Andueza lacked

authority to bind L’Anse to the Supply Agreement; (ii) Mr. Andueza’s lack of authority prevented



2
 The parties here have previously introduced facts concerning Mr. Andueza’s being a co-conspirator of Brooks’. See
Opening Br. at 2-3. Nonetheless, Plaintiffs concede that, for their part, those allegations do not specifically challenge
Mr. Andueza’s authority and asking the Court to interpret those allegations as such would be a bridge too far.

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the Supply Agreement from coming into existence; and (iii) the arbitration provision in the Supply

Agreement is null and void. Accordingly, the Wisconsin Arbitration should be stayed pending the

Court’s determination of these issues. See Opening Br. at 4-9.

         Accordingly and notwithstanding of when Plaintiffs raised the issue of Mr. Andueza’s

authority, the Court should grant reconsideration so that it can base its decision on an accurate and

complete record rather than an erroneous assumption concerning a material issue of fact. See

Agron v. Trustees of Columbia Univ. in City of New York, 1998 WL 427620, at *2, *4, *6

(S.D.N.Y. July 29, 1998) (granting reconsideration as “the Court's previous holding was based on

an erroneous assumption”); Linde v. Arab Bank, PLC, 2009 WL 1743988, at *1 (E.D.N.Y. June

18, 2009) (reconsideration granted because the court overlooked factual information and

arguments submitted by movant). Moreover, reconsideration is necessary to prevent injustice. See

In re Platinum-Beechwood Litig., 2019 WL 5203745 at * 2 (court’s reviewing legal authorities

presented for the first time on reconsideration was warranted because plaintiff “should not be

deprived of its day in court”).

   II.      L’ANSE DID NOT RATIFY THE SUPPLY AGREEMENT

         In response to Plaintiffs’ second basis for reconsideration that L’Anse did not take delivery

under the Supply Agreement, Defendants raise a host of meritless arguments, maintaining that

Plaintiffs ratified the Supply Agreement. These arguments fail.

         First, Defendants point to the fact that Plaintiffs’ in-house attorney, Bert Diaz, signed an

Amended Closing Statement in the days immediately following the revelation of Defendants’

fraudulent scheme. In particular, Defendants highlight the following sentence from the Amended

Closing Statement to maintain that ratification occurred:




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                  Other than as expressly modified pursuant to this Amended and
                  Restated Closing Statement, all of the terms, conditions and other
                  provisions of the Acquisition Agreement and the O&M Agreement are
                  hereby ratified and confirmed and shall continue to be in full force and
                  effect in accordance with their respective terms.

Def. Br. at 10-11. Defendants take this sentence out of context and distort its meaning.

       Mr. Diaz rejected the suggestion of ratification and explained that the entire provision,

including the above-quoted sentence, was meant to limit the amendment of the Acquisition

Agreement to just those terms set forth in the Amended Closing Statement (i.e., harmonize the

terms of the Amended Closing Statement with the Acquisition Agreement): “In the event of any

conflict or inconsistency between the provisions of the Acquisition Agreement…and the

provisions of this Amended and Restated Closing Statement, the provisions of this Amended and

Restated Closing Statement shall control.” See Declaration of Bert Diaz, ECF 108 at ¶3 (“Diaz

Decl.”).

       Moreover, it is a basic principle of contract law that ratification “must be performed with

full knowledge of the material facts relating to the transaction, and the assent must be clearly

established and may not be inferred from doubtful or equivocal acts of language.” Cammeby’s

Mgmt., Co., LLC v. Affiliated FM Ins. Co., 152 F. Supp. 3d 159, 165 (S.D.N.Y. 2016) (quoting

Chem. Bank v. Affiliated FM Ins. Co., 169 F.3d 121, 128 (2d Cir.).

       Here, Plaintiffs did not assent to ratification. As referenced above and as Mr. Diaz has

explained, the Amended Closing Statement was not meant to release or otherwise impact claims

related to Defendants’ fraudulent conduct. To the contrary, at the time of the Amended Closing

Statement, Plaintiffs had put Brooks on notice of the fraud claims against him and demanded that

Brooks repay the shortfall between the fraudulent purchase price and the fair market price as

determined by an independent valuation of the pellet plant. See Diaz Decl. at ¶4. Additionally,

the Amended Closing Statement is completely silent as to the Supply Agreement. If the Amended
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Closing Statement were somehow intended to relinquish Plaintiffs’ fraud claim, which it was not,

it would have included a release or comparable language. However, it does not contain any release

language, address the issue of fraud, or discuss the material undervaluation of the plant.

       Second, Defendants also wrongly maintain that Plaintiffs’ conduct after having learned of

Mr. Andueza’s role in Brooks’ fraud demonstrates Plaintiffs’ ratification. Def. Br. at 12. They

maintain that because Plaintiffs continued to take delivery of pellets, Plaintiffs ratified the Supply

Agreement. Defendants turn the facts on their head.

       In the months following the closing of the Supply Agreement in January 2020, Defendant

Mikkelson was still overseeing both the power plant and the pellet plant. Defendants Mikkelson,

Hansen, and Brooks ensured that L’Anse bought pellets. When Plaintiffs discovered that

Mikkelson was involved in the fraud, he was terminated, the amount of pellets purchased was

dramatically reduced, and no more payments by L’Anse were forthcoming. In other words, the

very reason Defendants seek to exculpate themselves here is demonstrative of their guilt: L’Anse

“purchased” pellets because Defendants controlled L’Anse.

       Moreover, Defendants completely skate by the fact that, when Mikkelson’s role in the fraud

was uncovered, Plaintiffs changed how they purchased pellets. For example, Plaintiffs no longer

purchased pellets in the amount or timetable provided for in the Supply Agreement and purchased

pellets solely at their discretion. Opening Br. at 9-10; see Declaration of Camilo Patrignani, ECF

121 at ¶¶5-7. Defendants have no answer to these facts.

       Additionally, because ratification is an issue concerning contract formation, it is for a court

and not an arbitrator to decide. See Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287,

304 at n. 9 (2010) (noting that ratification presents a contract-formation issue for judicial

determination); Delgado v. Ocwen Loan Servicing, LLC, 2016 WL 4617159, at *9 (E.D.N.Y. Sept.



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2, 2016) (whether an agreement to arbitrate was ratified is for a court, not an arbitrator, to decide).

       In any event, it is now clear that Defendants have raised a dispute concerning the meaning

and import of the Amended Closing Statement. However, all disputes under the Amended Closing

Statement call for jurisdiction in New York:

           Any action or proceeding seeking to enforce any provision of, or based on any
           right arising out of, this Agreement may be brought against any of the parties
           in the courts of the State of New York, County of New York, or, if it has or can
           acquire jurisdiction, in the United States District Court for the Southern District
           of New York, and each of the parties consents to the jurisdiction of such courts
           (and of the appropriate appellate courts) in any such action or proceeding and
           waives any objection to venue laid therein.

Amended Closing Statement, ECF 64-2 at 2.

       Defendants fail to bring this fact to the Court’s attention. Defendants cannot have their

cake and eat it to, selectively enforcing the Amended Closing Statement while ignoring its forum

selection provision. Having made their ratification argument based on the Amended Closing

Statement, Defendants cannot also maintain that this matter should be arbitrated.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ motion for reconsideration

and, upon reconsideration, issue an order staying the arbitration.



 Dated: September 9, 2020                             SEIDEN LAW GROUP LLP
 New York, New York

                                                  By: /s/ Michael Stolper
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day I caused a true and correct copy of the foregoing to be filed

using the Court’s Electronic Filing System (“ECF System”). The document is available for

viewing and downloading via the ECF System and will be served by operation of the ECF System

upon all counsels of record.

Dated: September 9, 2020                                      SEIDEN LAW GROUP LLP


                                                              /s/ Michael Stolper
                                                                  Michael Stolper




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